Case 1:12-cr-20291-CMA Document 671 Entered on FLSD Docket 01/25/2016 Page 1 of 20
                                                                                     1


       1                        UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
       2                               MIAMI DIVISION
                                    CASE NO. 12-20291-CR
       3

       4     UNITED STATES,                       Miami, Florida

       5                PLAINTIFF,                October 9, 2015

       6          vs.                             8:59 a.m. to 9:27 a.m.

       7     ARMANDO GONZALEZ,                    Courtroom 12-2

       8                DEFENDANT.                (Pages 1 to 20)

       9
                                     RULE 35 HEARING
      10                BEFORE THE HONORABLE CECILIA M. ALTONAGA,
                               UNITED STATES DISTRICT JUDGE
      11
            APPEARANCES:
      12
             FOR THE GOVERNMENT:      ALLAN J. MEDINA, ESQ.
      13                              Assistant United States Attorney
                                      United States Department of Justice
      14                              950 Pennsylvania Avenue, Northwest
                                      Washington, D.C. 20530-0001
      15                              (202) 257-6537
                                      allan.medina@usdoj.gov
      16
             FOR THE DEFENDANT:       JOAQUIN G. PEREZ, ESQ.
      17                              6780 Coral Way
                                      Suite 200
      18                              Miami, Florida 33155
                                      (305) 261-4000
      19                              Jplaw1@bellsouth.net

      20
             REPORTED BY:             STEPHANIE A. McCARN, RPR
      21                              Official Court Reporter
                                      400 North Miami Avenue
      22                              Twelfth Floor
                                      Miami, Florida 33128
      23                              (305) 523-5518
                                      Stephanie_McCarn@flsd.uscourts.gov
      24

      25
Case 1:12-cr-20291-CMA Document 671 Entered on FLSD Docket 01/25/2016 Page 2 of 20
                                                                                     2


       1                                   I N D E X

       2                                   WITNESSES

       3
            WITNESSES FOR THE GOVERNMENT:                                 Page
       4                                                                    --

       5

       6
            WITNESSES FOR THE DEFENDANT:                                  Page
       7                                                                    --

       8

       9    EXHIBITS MARKED & ADMITTED IN EVIDENCE          MARKED     ADMITTED

      10    Government Exhibit No.                            --            --

      11    Defendant's Exhibit No.                           --            --

      12

      13

      14

      15

      16

      17                                 MISCELLANEOUS

      18                                                                  Page
            Proceedings.......................................               3
      19    Court Reporter's Certificate......................              20

      20

      21

      22

      23

      24

      25
Case 1:12-cr-20291-CMA Document 671 Entered on FLSD Docket 01/25/2016 Page 3 of 20
                                                                                     3


       1        (The following proceedings were held at 8:59 a.m.)

       2              THE COURT:    Good morning.    Please be seated.     United

       3    States and Armando Gonzalez.      Counsel, please state your

       4    appearances.

       5              MR. MEDINA:    Good morning, Your Honor.      Allan Medina

       6    on behalf of the United States.

       7              MR. PEREZ:    Good morning, Your Honor.      Joaquin Perez

       8    on behalf of Armando Gonzalez, who is present in court.

       9              THE COURT:    Okay.   We are here on a motion for

      10    sentence reduction filed by the government.

      11              I will hear from you, Mr. Medina.

      12              MR. MEDINA:    Thank you, Your Honor.      Your Honor, the

      13    government is recommending a 37 percent reduction based on

      14    Mr. Gonzalez's substantial assistance in the investigation

      15    involving Healthcare Solutions Network.        Based on that

      16    37 percent reduction, the sentence would be approximately

      17    106 months, taking that reduction from 168 months Your Honor

      18    sentenced Mr. Gonzalez to originally.

      19              If I may just break down the nature of Mr. Gonzalez's

      20    cooperation.    First, following his arrest in May 2012,

      21    Mr. Gonzalez began cooperating with the government in the sense

      22    of meeting for debriefings in November of 2012.         He accepted

      23    responsibility.    He described his role in this $63 million

      24    fraud scheme and the role of others.       More significant, Your

      25    Honor, at that time, he turned over voluntarily significant
Case 1:12-cr-20291-CMA Document 671 Entered on FLSD Docket 01/25/2016 Page 4 of 20
                                                                                     4


       1    Healthcare Solutions Network business records to include

       2    patient files, census reports and other business records that

       3    were later used in prosecutions of additional defendants in

       4    this particular fraud scheme.

       5               As a result of this cooperation, the government has

       6    indicted or charged in various different ways approximately

       7    14 defendants, including in January 20 -- on January 29, 2013,

       8    there was a superseding indictment in this case,

       9    Case No. 12-CR-20291.     And in that case, we charged Alina Feas,

      10    Lisset Palmaro, Dana Gonzalez, and Gema Pampin, all who pled

      11    and did not go to trial.

      12               In addition, on June 30th, 2014, Francisco Pabon was

      13    charged by way of information.      He was an intake

      14    coordinator/social worker at Jackson Hospital here in Miami.

      15    And from information Armando Gonzalez provided to us, along

      16    with other coconspirators, we learned that Francisco Pabon in

      17    the parking lot of Jackson South Hospital received kickbacks,

      18    cash kickbacks from Armando Gonzalez in exchange for foreign

      19    patients who were recently discharged from Jackson South

      20    Hospital who ultimately made their way to Healthcare Solutions

      21    Network.   Mr. Pabon pled guilty.

      22               And finally, on July 11, 2013, a seven-person

      23    indictment was brought before Judge Scola,

      24    Case No. 13-CR-20505.     And in that case, therapists were

      25    indicted along with the medical director, the psychiatrist for
Case 1:12-cr-20291-CMA Document 671 Entered on FLSD Docket 01/25/2016 Page 5 of 20
                                                                                     5


       1    Healthcare Solutions Network, Dr. Roger Rousseau.

       2              In addition to the information provided that led to

       3    these additional indictments and informations, Armando Gonzalez

       4    testified one time, and that was in the case United States v.

       5    Roger Rousseau, 13-CR-20505.      As a result of his testimony, as

       6    well as testimony of some other coconspirators, Dr. Roger

       7    Rousseau was convicted on all counts along with the therapists

       8    that were brought to trial before Judge Scola.         And sentencing

       9    in that case is scheduled for the end of November, Your Honor.

      10              Based on that substantial assistance, based on the

      11    defenses that were charged, the records that were turned over

      12    and his trial testimony, the government is recommending a

      13    37 percent reduction.

      14              If I may briefly, the defendant filed yesterday Docket

      15    Entry 656, motion in support of a sentence reduction.          At

      16    Footnote 1, the defendant mentions the reductions that were

      17    brought before, Your Honor, for Gema Pampin, Dana Gonzalez,

      18    Alexandra Haynes and Serena Joslin.       In those instances, the

      19    government recommended 40 percent reductions except for Gema

      20    Pampin who received a 45 percent reduction.        And I just wanted

      21    to point out the slight difference between those defendants and

      22    Mr. Gonzalez.

      23              With respect to Gema Pampin, the main differences in

      24    that case is that Ms. Pampin, though indicted after

      25    Mr. Gonzalez, started cooperating before she was charged in
Case 1:12-cr-20291-CMA Document 671 Entered on FLSD Docket 01/25/2016 Page 6 of 20
                                                                                     6


       1    that particular case.     In addition, Ms. Pampin testified three

       2    times in the case United States v. Wondera Eason before Your

       3    Honor and also in the initial Roger Rousseau trial and the

       4    second retrial for Roger Rousseau.

       5              Dana Gonzalez also testified three times, not only in

       6    Healthcare Solutions Network Roger Rousseau trials, but also in

       7    a separate trial involving American Therapeutic Corporation, a

       8    $200 million fraud scheme down here in Miami.

       9              As a result of her testimony and the testimony of

      10    others, each of the defendants in both cases were convicted at

      11    trial.

      12              Finally, with respect to Ms. Haynes, she testified two

      13    times and that was in the Wondera Eason trial, along with the

      14    Roger Rousseau trial brought before Judge Scola.

      15              And with respect to Ms. Joslin, who received a

      16    40 percent reduction, she testified one time, but like

      17    Ms. Pampin, also started meeting with the government

      18    pre-indictment and she was brought in in the initial indictment

      19    before Your Honor in May 2012.

      20              So as a result of the substantial assistance, the

      21    comparisons with these other defendants, the government is

      22    recommending a 37 percent reduction, which ultimately would

      23    lead to a final sentence of 106 months in prison.

      24              THE COURT:    Thank you.

      25              Mr. Perez?
Case 1:12-cr-20291-CMA Document 671 Entered on FLSD Docket 01/25/2016 Page 7 of 20
                                                                                     7


       1              MR. PEREZ:    Thank you.

       2              Did the -- may I approach?      Did the Court receive the

       3    sentencing memorandum?

       4              THE COURT:    I did.   Thank you.

       5              MR. PEREZ:    At that sentencing, the Court expressed

       6    more reservations about somebody like Mr. Gonzalez because of

       7    his background and his involvement in the case.         And rightfully

       8    you felt that the defendant should be sentenced at the high end

       9    of the sentencing guidelines, which is a significant difference

      10    between this defendant and the other defendants who got a

      11    reduction in this case.     The defendant started from the high

      12    end of the guidelines.

      13              THE COURT:    I'm sorry.    You say it is a difference

      14    because Mr. Gonzalez started at the high end of the guidelines

      15    and the other defendants did not?

      16              MR. PEREZ:    Well, the other defendants, when they

      17    received the sentence reduction, they received it from the low

      18    end of the sentencing guidelines.       Although I understand why

      19    the Court imposed a high-end sentence.        If you look at the

      20    transcript of what happened three years ago, which I hope the

      21    Court has reviewed, at that time the defendant had already

      22    begun to cooperate and the government insisted upon a low-end

      23    sentence taking into account the fact that he had already begun

      24    to cooperate and it was going to be factored into the equation.

      25    And when the Court asked the government, Why are you doing
Case 1:12-cr-20291-CMA Document 671 Entered on FLSD Docket 01/25/2016 Page 8 of 20
                                                                                     8


       1    this, they took the position that it was because of the

       2    cooperation that he had provided.

       3              I only mention that because that -- and then I asked

       4    the Court to postpone the sentencing and the Court rightfully

       5    said, you know, Issues that have to do with mitigation of

       6    sentence are matters that I take exclusively based upon the

       7    cooperation of the defendant as provided.

       8              So today we are not here on the question of -- I

       9    guess, for lack of a better word -- the personal

      10    characteristics of the defendant.       We are here on the extent

      11    and value of the cooperation that he has provided.         And I would

      12    suggest to the Court that the extent and value of the

      13    cooperation that he provided exceeded the ones for -- of the

      14    other defendants that received a 40 or a 45 percent reduction.

      15    He began to cooperate from the beginning.        And it is

      16    significant to say that all the records that were then used in

      17    order to indict additional 14 defendants were provided by this

      18    defendant.

      19              But for those records, I think the prosecution -- I

      20    think they acknowledge that -- would have had a difficult time

      21    superseding the indictment and returning the charges that were

      22    ultimately filed against several defendants and Dr. Rousseau.

      23              And if I may refer to the -- to the transcript of the

      24    February 25th, 2013, sentencing hearing, the Court is

      25    specifically -- well, the prosecutor specifically says that
Case 1:12-cr-20291-CMA Document 671 Entered on FLSD Docket 01/25/2016 Page 9 of 20
                                                                                     9


       1    they were struggling with the recommendation that they were

       2    making but they recognize that -- they recognize, and this was

       3    at the time in which the Court was concerned about sentencing,

       4    was not concerned about cooperation.

       5              This is some page -- page 3 of the transcript.         I

       6    don't know if the Court has it in front of you.

       7              THE COURT:    I do not, no.

       8              MR. PEREZ:    Do not?

       9              THE COURT:    I mean, I can pull it up.

      10              MR. PEREZ:    No, no, no.     Here.   It was attached to my

      11    sentencing memorandum.

      12              THE COURT:    Right.    What page?

      13              MR. PEREZ:    Page 3.

      14              THE COURT:    Yes.

      15              MR. PEREZ:    We will start with -- it will be line 16

      16    through 19.   And I think it's important.       Because of his

      17    cooperation, the government was able to locate thousands of

      18    documents stored in Miami related to the healthcare fraud

      19    conspiracy both in Miami and North Carolina.

      20              In addition, the defendant has provided the

      21    information that led to the return of indictments and also to

      22    the -- some of the subsequent charges that were charged against

      23    other individuals.

      24              Now, when the Court asked the government whether in

      25    fact -- the Court at that time indicated that you were so
Case 1:12-cr-20291-CMA Document 671 Entered on FLSD Docket 01/25/2016 Page 10 of 20
                                                                                      10


       1    concerned about the recommendation that was being made for the

       2    low end of the sentencing guidelines, and I think that it is

       3    worth noting, as I mentioned in my sentence memorandum, that

       4    the government stood by the recommendation indicating the

       5    following:

       6                The government entered into a plea agreement in this

       7    case.   Part of the reason, as the Court is well aware, is that

       8    the plea agreement is used to provide certainty of the

       9    sentencing process.

      10                And then the government is well aware of

      11    Mr. Gonzalez's conduct, the severity of it and the impact that

      12    it had on the community and the Medicare system.          That being

      13    said, he has provided significant cooperation up to date, and I

      14    expect the cooperation to continue, which indeed it did

      15    continue.

      16                But the government is recommending, and this is after

      17    the Court expressed concerns about the recommendation by the

      18    government -- the government is recommending that he be

      19    sentenced within parameters of the plea agreement which was the

      20    low end of the plea agreement.

      21                Now, why do I mention that?     I think that all of that

      22    cooperation should be taken into consideration now regarding

      23    what should be the sentence reduction.        I know that the

      24    government has made a recommendation but the Court ultimately

      25    makes a decision as to what is an appropriate sentence
Case 1:12-cr-20291-CMA Document 671 Entered on FLSD Docket 01/25/2016 Page 11 of 20
                                                                                      11


       1    reduction.

       2              And now, I guess to a certain degree, and not to -- we

       3    have to set aside what we think about Mr. Gonzalez and think

       4    about the extent and value of his cooperation.         I mean, you

       5    have really sentencing at the higher end of the guidelines.

       6    Now, what I ask the Court is to at least reduce the sentence by

       7    50 percent or at least by 45 percent, which is the sentence

       8    that was recommended and the Court granted regarding a

       9    codefendant in the case.

      10              Now, the -- the government may argue that Mrs. Pampin

      11    was a low-end defendant.      Yeah, she was a low-end defendant.

      12    She didn't get any enhancement.       This defendant got

      13    enhancements because of his managerial leadership role and

      14    that's the reason why he got 168 months.

      15              All I am asking the Court to do is to take all of this

      16    into account because specifically I remember -- it's in the

      17    transcript -- I asked the Court to take into account the

      18    recommendation and cooperation that he had provided.          And the

      19    Court's responses, those are matters to be taken up in the

      20    future.   I am not concerned right now with the cooperation that

      21    he provided.    Obviously, the government felt that the

      22    cooperation that he had provided at the time was worth the

      23    Court sentencing at the low end of a sentencing guideline.

      24              Because of that, I will ask that the government's

      25    recommendation be exceeded, that he be sentenced at least in
Case 1:12-cr-20291-CMA Document 671 Entered on FLSD Docket 01/25/2016 Page 12 of 20
                                                                                      12


       1    the manner which is consistent with the other defendants in the

       2    case, and therefore if I -- my math is right, if you reduce the

       3    sentence by 40 percent, he will get a 67-month reduction and

       4    then the sentence will be 101-month.        If you reduce it by -- if

       5    you reduce it by 50 percent, the sentence will be 84 months.

       6              I think that certainly this is one time that the Court

       7    should exceed the recommendation made by the government in this

       8    case.

       9              THE COURT:    Thank you.

      10              MR. PEREZ:    Yeah.

      11              THE COURT:    Except that Mr. Medina has explained the

      12    significantly greater cooperation provided by these other

      13    lower-level participants in this conspiracy.         You are asking me

      14    to reward Mr. Gonzalez at a greater extent than Ms. Pampin.

      15              MR. PEREZ:    She got a 45 percent reduction.       I wish

      16    to -- she got a 45 percent reduction.

      17              But the other -- part of the reason why I think that I

      18    disagree with my friend Mr. Medina, who is an excellent

      19    attorney, is that there are many times in which defendants

      20    plead guilty because they know that somebody is about to

      21    testify against them.

      22              And as shown by this transcript, Mr. Layman and Ms. --

      23    I think at least Mr. Layman, and Mr. Thorn, I think, was the

      24    other defendant, to a certain degree, pled guilty because they

      25    knew that Mr. Gonzalez was going to be a witness against them.
Case 1:12-cr-20291-CMA Document 671 Entered on FLSD Docket 01/25/2016 Page 13 of 20
                                                                                      13


       1                And in addition to that, all the other 14 defendants

       2    who ultimately pled guilty, some of whom pled guilty without

       3    going to trial, knew that Mr. Gonzalez was going to be a

       4    witness against them.

       5                So when you take into account -- it's not so much the

       6    number of trials that a person is a witness in.         Indeed, what I

       7    think is more relevant is the significance of the cooperation.

       8    I guess Mr. Medina will agree with the assessment that was made

       9    two or three years ago that the records that were provided were

      10    essential in order to return an indictment against the other

      11    people who were subsequently indicted.

      12                At a personal level, since the Court is asking about

      13    the 45 percent, one of the most difficult decisions that

      14    Mr. Gonzalez was called to make was testifying against

      15    Dr. Rousseau.    And let me tell the Court why it was a difficult

      16    decision.

      17                Dr. Rousseau had many faults but Dr. Rousseau was the

      18    one who took care of his family and his kids.

      19                I think it was very painful for Mr. Gonzalez to take

      20    the witness stand against somebody who had, in fact, taken care

      21    of his children, and I think that that was a personal decision,

      22    Mr. Medina would probably agree with that, that was reflected

      23    when he testified at trial.      And because of that personal

      24    struggle, it's, I think, that to a certain degree, the jury

      25    took into account the fact that he was there telling the truth
Case 1:12-cr-20291-CMA Document 671 Entered on FLSD Docket 01/25/2016 Page 14 of 20
                                                                                      14


       1    but it was very painful for him to do that.         Because in telling

       2    the truth about Dr. Rousseau, he was implicating somebody that

       3    he felt had been helpful to his family.

       4              In fact, I think the last question that was asked of

       5    him on cross-examination was, How dare you testify -- or words

       6    to that effect, that's what I -- was relate, as Mr. Medina

       7    would say.    How dare you testify against a person that was so

       8    good to your family that took care of your kids that provided

       9    medication and provided guidance to your kids.         And I think

      10    Mr. Gonzalez's response was, I'm here to tell the truth, as

      11    painful as that may be.

      12              Mr. Medina was there.      I wasn't there.     It was

      13    information that was relayed to me by some of the other

      14    attorneys.

      15              That is the type of painful decision that oftentimes

      16    makes a difference in the trial.       And I think that it's also a

      17    type of decision -- in my sentencing memorandum, I quoted a

      18    very old case that -- but it's Supreme Court of the United

      19    States.   It's a 1980 case.     It's on page 2.     In fact, I was

      20    surprised in -- to find this case because it was before the

      21    guidelines and it's before the mandatories.

      22              And the Court has said that -- for what it's worth, it

      23    said cooperation is an obligation of community life that

      24    could/should be recognized before rehabilitation can begin.

      25              By his willingness to cooperate against his partners
Case 1:12-cr-20291-CMA Document 671 Entered on FLSD Docket 01/25/2016 Page 15 of 20
                                                                                      15


       1    in crime, this is the -- Mr. Gonzalez severed all connections

       2    with people like Dr. Rousseau.

       3              And then this is the quote from the Supreme Court, I

       4    frankly was unaware of, indicating that few facts are available

       5    to a sentencing judge that are more relevant to a defendant

       6    likelihood that he will transgress no more and the hope that he

       7    may respond to rehabilitative efforts and to assist law

       8    enforcement, and by doing so, he declares that he is no longer

       9    at war with society.

      10              I think that his testimony -- and I will ask

      11    Mr. Medina to really affirm this -- against Dr. Rousseau and

      12    the way that it was described to me was very significant in

      13    convicting a person who was at the -- certainly agree, that

      14    made this crime possible, this psychiatrist.

      15              So with that in mind, I really will say that I agree

      16    with Mr. Medina's assessment about the cooperation was very

      17    significant but I disagree about the fact that you need to take

      18    into account the fact that somebody testified in three trials,

      19    vis-a-vis one trial.     Many people pled guilty because they knew

      20    that Armando Gonzalez would be a witness against them.

      21              I don't know if Mr. Medina -- he was there, but I do

      22    remember this because I -- it was relayed to me and I know how

      23    painful it was for Mr. Gonzalez to be a witness against

      24    Dr. Rousseau.

      25              THE COURT:    Thank you.
Case 1:12-cr-20291-CMA Document 671 Entered on FLSD Docket 01/25/2016 Page 16 of 20
                                                                                      16


       1              Mr. Medina.

       2              MR. MEDINA:    Yes, Your Honor.     I'll just -- with

       3    respect to Mr. Gonzalez's testimony and -- in the Rousseau

       4    trial, in fact, so -- with Roger Rousseau, there were two

       5    trials.   He testified in one.      Many decisions, many choices --

       6              THE COURT:    Why not in the other?

       7              MR. MEDINA:    Well, just not prepared, not ready to

       8    testify in that particular case.

       9              THE COURT:    Was that the first time or the second

      10    trial?

      11              MR. MEDINA:    That was the first trial, which led to

      12    the --

      13              THE COURT:    The hung jury?

      14              MR. MEDINA:    -- hung jury.     And we later called

      15    Mr. Gonzalez in the second trial as a result of the impact his

      16    testimony did have, as Roger Rousseau was his partner since day

      17    one at Healthcare Solutions Network.

      18              THE COURT:    So why wasn't he ready to testify in the

      19    first trial?    What readiness was there to be had?

      20              MR. MEDINA:    It was issues related to prior conduct

      21    that --

      22              THE COURT:    Whose prior conduct?

      23              MR. MEDINA:    Mr. Gonzalez's prior conduct.       There was

      24    a home health agency that he had that we'd never covered before

      25    and when we asked him about it, it was several days before the
Case 1:12-cr-20291-CMA Document 671 Entered on FLSD Docket 01/25/2016 Page 17 of 20
                                                                                      17


       1    trial and we learned that it was part of a separate fraud, a

       2    minor fraud nonetheless, but he did admit it to us immediately,

       3    and we just thought because of the timing, we weren't prepared

       4    to move forward at that time in the first trial with

       5    Dr. Rousseau.

       6              And that was the reason, that was the choice that the

       7    government made.     And because of that, I don't know how that

       8    testimony would have shaped out in the first trial, but we then

       9    called him in the second trial and it was a conviction on all

      10    counts.

      11              So we took all of that into consideration, the files

      12    that were turned over, the testimony, the first -- the Roger

      13    Rousseau trial, the 14 defendants, and with that, my thought,

      14    my authorization was for the 37 percent reduction.          We think

      15    that is reasonable in light of the cooperation today and prior

      16    to being charged.

      17              THE COURT:    Thank you.

      18              Mr. Perez, anything additional?

      19              MR. PEREZ:    No, I wasn't there, but I wanted to hear

      20    from Mr. Medina about whether in fact it was true that the last

      21    question that was asked of Mr. Gonzalez is, How dare you do

      22    this against somebody that was so good to your family.

      23              I was just curious.

      24              MR. MEDINA:    That is accurate.     Paraphrased, I don't

      25    know exactly, but it was -- at trial, did come out.          It was
Case 1:12-cr-20291-CMA Document 671 Entered on FLSD Docket 01/25/2016 Page 18 of 20
                                                                                      18


       1    difficult and he did, you know, have to tell the truth under

       2    his plea agreement and under obligations.

       3                THE COURT:    Has the cooperation included locating

       4    assets and money to reimburse the government?

       5                MR. MEDINA:    Yes, Your Honor.   As part of his plea

       6    agreement, he had entered into a money judgment and also turned

       7    over real properties.      I believe it was his home in North

       8    Carolina as well as the North Carolina Healthcare Solutions

       9    facility.    At the time, the Miami facilities were shut down.

      10    So again, as a result of his plea agreement, he agreed to

      11    forfeit those assets.

      12                MR. PEREZ:    And I think he also divested himself of a

      13    million -- this was before I came into the case.          It was some

      14    money that had been seized on an account and he released that

      15    when I became involved in the case.

      16                MR. MEDINA:    I apologize, Your Honor.    It was in the

      17    800- to $900,000 range, which was significant.

      18                THE COURT:    I have carefully reviewed the government's

      19    motion for downward departure and the defendant's motion in

      20    support of sentence reduction, given careful consideration to

      21    the descriptions of the defendant's cooperation furnished here

      22    in open court by counsel for the parties.         I will be granting

      23    the motion for downward departure reducing Mr. Gonzalez's

      24    sentence from 168 months to 121 months in recognition of the

      25    cooperation and as compared to the cooperation provided by
Case 1:12-cr-20291-CMA Document 671 Entered on FLSD Docket 01/25/2016 Page 19 of 20
                                                                                      19


       1    others.

       2              Is there anything additional?

       3              MR. MEDINA:    Nothing from the government, Your Honor.

       4              MR. PEREZ:    I -- so the Court is not -- is not abiding

       5    by the recommendation made by the government?         I think that if

       6    they --

       7              THE COURT:    It's a recommendation, Mr. Perez.

       8              MR. PEREZ:    Okay.   So --

       9              THE COURT:    Is it not?

      10              MR. PEREZ:    No, I understand.     All I wanted to know is

      11    I wanted to make sure that I heard right.

      12              THE COURT:    That my math is correct?      Yes, that I am

      13    reducing his sentence not by the government's proposed

      14    37 percent or your proposed 50 percent but by 28 percent.

      15              You all have a good day.

      16              MR. MEDINA:    Thank you, Your Honor.

      17         (The proceedings concluded at 9:27 a.m..)

      18

      19

      20

      21

      22

      23

      24

      25
Case 1:12-cr-20291-CMA Document 671 Entered on FLSD Docket 01/25/2016 Page 20 of 20
                                                                                      20


       1                            C E R T I F I C A T E

       2
                  I hereby certify that the foregoing is an
       3
             accurate transcription of the proceedings in the
       4
             above-entitled matter.
       5

       6

       7     _01/22/16_
                 DATE         STEPHANIE A. McCARN, RPR
       8                      Official United States Court Reporter
                              400 North Miami Avenue, Twelfth Floor
       9                      Miami, Florida 33128
                              (305) 523-5518
      10

      11

      12

      13

      14

      15

      16

      17

      18

      19

      20

      21

      22

      23

      24

      25
